  Case 18-32371       Doc 24   Filed 05/24/19 Entered 05/28/19 10:35:50              Desc Main
                                 Document      Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      18-32371
                                             )
CARINA WEGRZYN,                              )               Chapter: 7
                                             )
                                                             Honorable Pamela S. Hollis
                                             )
                                             )               Joliet
               Debtor(s)                     )

             ORDER APPROVING EMPLOYMENT OF REAL ESTATE BROKER

       THIS MATTER COMING ON TO BE HEARD upon TRUSTEE'S APPLICATION TO
EMPLOY A REAL ESTATE BROKER, PAUL BUTLER and BK GLOBAL REAL ESTATE
SERVICES, in connection with the sale of the Real Estate located at 4909 W. 109th Street, Apt 202,
Oak Lawn, IL 60453, due and proper notice having been given to all parties entitled to receive notice,
the Court having jurisdiction over this core proceeding, and the Court being fully advised in the
premises,

     IT IS HEREBY ORDERED:

    1. The Application is granted; The Trustee is hereby authorized to employ PAUL BUTLER and
BK GLOBAL REAL ESTATE SERVICES, to serve as his real estate broker, retroactive to April 15,
2019, in connection with the sale of the Real Estate located at 4909 W. 109th Street, Apt 202, Oak
Lawn, Illinois, with compensation subject to further Order of Court.



                                                          Enter:


                                                                   Honorable Pamela S. Hollis
Dated: May 24, 2019                                                United States Bankruptcy Judge

 Prepared by:
 Daniel J. Nickel, Of Counsel
 Law Office of Zane Zielinski, P.C.
 6336 North Cicero Av., Suite 201
 Chicago, Illinois 60646
 ph: 773-877-3191
 Email: trustee@zanezielinski.com
 Email: daniel@nickellawoffice.com
